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        EXHIBIT 16
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                                   4471


    From:             Dayid Campbell
    To:               rcahill@colley.com; Roberta Kaplan; ~; Karen Dunn; William Isaacson; Levine. Alan; dmills@cooley.com;
                      Philip Bowman; Yotam Barkai
    Cc:               bryan@bjoneslegal.com: isuecrooks@comcast.net; jek31B@gmail.com; mpeinoyich@gmail.com;
                      richardbspencer@icloud.com
    Subject:          James Fields" Answers to Interrogatories and Requests for Production
    Date:             Monday, April 16, 2018 4:53:53 PM
    Attachments:      Fields First Answers to Interogs and RFPs.pdf

    All,
   Attached, please find James Fields' Answers to Plaintiffs' Interrogatories and Requests for Production
    of Documents. Please advise whether you require newspaper and internet articles produced in
    physical form or pdf for the production of documents. As indicated in the response, these
    documents were located by "Googling" James Fields and August 12, 2017, Charlottesville Rally. I can
    have these documents scanned and emailed within in 24 hours or will be happy to mail hard copies.
    However, if you require hard copies, I ask that you provide one or two law offices for production of
   the physical documents due to the number of associated counsel for Plaintiffs. Alternatively, I can
    provide a list of each article and the website or newspaper with date.
   Thanks,
    Dave




   David L. Campbell
   DUANE, HAUCK, GRAVATT & CAMPBELL, P.C.
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